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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


Margery Frieda Mock and Eric Scott                    Case No. 2:18-cv-0025-RSB-BWC
Ogden, Jr., individually and on behalf of
those similarly situated,
                            Plaintiffs,               (Class Action)

               v.

Glynn County, Georgia; E. Neal Jump,
Glynn County Sheriff; Alex Atwood, Glynn
County Magistrate Judge; and B. Reid Zeh,
III, Glynn County Misdemeanor Public
Defender;
                            Defendants.

         AMENDED DECLARATION OF ROBERT FRANKLIN COX, JR.

      I, Robert Franklin Cox, Jr., under penalty of perjury, hereby state as follows:

       1.      I am a 55 year-old man.

       2.      I have lived in Glynn County for approximately 8 years.

       3.      For the past several years, I have struggled with an alcohol abuse disorder.

Because of this struggle, I have accrued a significant criminal history and been unable to

keep a job. I am currently receiving in-patient treatment at Hudson Hill for my disease.

       4.      On multiple occasions, I have been arrested and charged with

misdemeanors in Glynn County and required the services of the Glynn County State

Court public defender, first, I think in 2013.

       5.      In what I remember being a 2013 case, I was charged with theft by

shoplifting. I qualified for a public defender because I had no money. I expected to be

asked about getting a public defender. No one asked me. No public defender came to see

me. Days later, a jail employee told me that I was going to court in a few hours. When I


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got to court it looked like an assembly line of people going before the judge to plead

guilty. When my turn came, I was told to stand at a desk before the judge. A man stood

on my right who I had never met before. No one told me who he was. He told me that it

was better if I pleaded guilty. I did what he told me to do. I do not know how this man

was appointed. I later learned this man was Reid Zeh.

        6.      Approximately seven other times the same thing happened. I was arrested.

No one told me about a public defender or asked if I needed one. I would meet Mr. Zeh

in court and plead guilty, not knowing there were other options and wanting to get out of

jail. Mr Zeh never came to see me. I have never heard of Mr. Zeh seeing any public

defender clients in the jail.

        7.      In one case after approximately seven arrests, I bonded out with my

mother’s financial assistance. When I went to my court date in that case on April 1, 2015,

Mr. Zeh was standing in court as in my prior experiences to represent me as the public

defender. I was ready to plead guilty, and Mr. Zeh pointed to the sentencing paperwork

and instructed me to sign it to plead guilty. However, Judge Bart Altman stopped me and

directed me to talk to the public defender, Mr. Zeh. I went to Mr. Zeh’s office right after

court. Mr. Zeh indicated that he would charge me $2,500 to represent me. He did not

refer me to a public defender. For this money, Mr. Zeh said he would take care of my

case.

        8.      I could not afford this fee or to pay for any private attorney. I believed that

Mr. Zeh knew my financial circumstances as he had represented me previously as the

public defender. Though I was working at Mercedes-Benz at the time, I was living

paycheck to paycheck and my income was below the federal poverty limits. I told my




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mother about the fee. My family must have paid Mr. Zeh $2,500 because the charges

were later dropped.

       9.      I do not believe Mr. Zeh would have assisted me in my case had my

family not paid him $2,500. If my family had not come up with the $2,500, I believe I

would have had to represent myself or hire a private attorney in order to assert my valid

defenses in my case.

       10.     I have been charged with misdemeanors in Glynn County more times than

I can remember. My attorneys in this case have refreshed my memory by sharing a

handful of my court records, which they obtained via an open records request. Based on

reviewing those records, I can describe a few of my cases over the last several months.

       11.     On June 3, 2016, I was arrested on a misdemeanor charge of theft by

taking and booked into the Glynn County Detention Center. I could not afford a pre-set

bail amount required for my release. I was taken to a proceeding referred to as “rights

read” on June 6, 2016. At the proceeding, a presiding judge asked me a handful of

questions, and set my bail. No public defender was there to assist me. I still could not

afford to pay the bail amount, and the judge did not ask me what I could afford to pay. I

remained incarcerated for a month, until July 9, 2016, when I bonded out via a for-profit

bondsman who my mother paid. I was sentenced on that charge on August 10, 2016.

       12.     On July 22, 2016, I was arrested on a misdemeanor charge of public

drunkenness and booked into the Glynn County Detention Center. Once again, I could

not afford a pre-set bail amount required for my release. I was taken to a “rights read”

proceeding on July 25, 2016, which went in the same manner as the proceeding in June of

that year. After “rights read,” I still could not afford the bail set in my case, and which




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was set without asking what I could afford to pay. I remained incarcerated until August

10, 2016, when I pled guilty in order to get out of jail. I also received a 12 months

suspended sentence and 90 days jail time with credit time served.

       13.     On November 9, 2016, I was arrested on a misdemeanor charge of

criminal trespass and booked into the Glynn County Detention Center. I could not afford

to pay a pre-set bond amount required for my release. I was taken to a “rights read”

proceeding on November 11, 2016. I continued to be detained on a bail requirement I

could not afford—and which no one asked whether I could pay—until over three months

later, February 22, 2017. On February 22, 2017, I was sentenced to 90 days in jail (with

credit time served), 100 hours of community service, and a year of probation with a

monthly fee of $45.00. I was also ordered to pay a supervision fee of $36.00 per month.

       14.     On June 24, 2017, I was arrested on misdemeanor charges of criminal

trespass and public intoxication. As with my other arrests, because I could not afford the

pre-set secured bail requirement set on my release, I remained in jail. I went to a “rights

read” hearing on June 26, 2017, and—as with the others I had been through—no public

defender assisted me and no one inquired into my ability to afford bail. I remained

incarcerated until proceeding to a guilty plea hearing on July 5, 2017. As was true in

every misdemeanor case in which I’ve been charged, no public defender sought a

reduction of my bail amount, but rather only met with me during my sentencing hearing.

I was sentenced to 180 days in jail (with credit time served), 100 hours of community

service, and a year of probation with a monthly fee of $45.00, as well as 90 hours of AA

meetings in 90 days and 3 hours of AA meeting a week for the remainder of probation.




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